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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                  CRIMINAL ACTION NO. 14-10363-RGS

                              UNITED STATES

                                       v.

                         BARRY J. CADDEN ET AL.

            ORDER ON SETTING REASONABLE TIME LIMITS
            FOR THE TRIAL OF DEFENDANT GLENN A. CHIN

                              February 21, 2017

      STEARNS, D.J.

      The court intends to commence the trial of defendant Glenn A. Chin

following the conclusion of the trial of co-defendant Barry J. Cadden

(currently in its second month). For the reasons to be explained, the court

will order the government and the defense to submit proposed time limits on

the presentation of the Chin case to the jury.

      Federal courts have considerable authority when it comes to managing

their dockets. Sec’y of Labor v. DeSisto, 929 F.2d 789, 795-796 (1st Cir.

1991). This includes the ability to impose reasonably strict time limits on

jury trials. See id. at 795. This inherent authority is reinforced by the Federal

Rules of Evidence, which are to “be construed so as to . . . eliminate

unjustifiable expense and delay.” Fed. R. Evid. 102. Specifically, the court
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has the power to “exercise reasonable control over the mode and order of

examining witnesses and presenting evidence so as to . . . avoid wasting

time,” Fed. R. Evid. 611(a)(2), and to exclude even relevant evidence on the

basis of wasted time or the needless presentation of cumulative evidence,

Fed. R. Evid. 403. These powers give life to the adage that “it has never been

supposed that a party has an absolute right to force upon an unwilling

tribunal an unending and superfluous mass of testimony limited only by his

own judgment and whim.” MCI Commc’ns Corp. v. Am. Tel. & Tel. Co., 708

F.2d 1081, 1171 (7th Cir. 1983), quoting 6 Wigmore, Evidence § 1907 (1976).

      Although more common in civil cases, “setting time limits in a criminal

trial is equally authorized.” United States v. Cousar, 2007 WL 4456798, at

*2 (W.D. Pa. Dec. 16, 2007); accord United States v. Hildebrand, 928 F.

Supp. 841, 849 (N.D. Iowa 1996). Indeed, the First Circuit has specifically

acknowledged the court’s authority to “impos[e] reasonable time limits on

both civil and criminal trials in the exercise of the court’s reasonable

discretion.” DeSisto, 929 F.2d at 795, citing United States v. Reaves, 636 F.

Supp. 1575, 1578 (E.D. Ky. 1986); accord United States v. DeCologero, 364

F.3d 12, 25 (1st Cir. 2004). The ability to regulate proceedings in this manner

serves several beneficial purposes. As a practical matter, it enables the court

to efficiently manage its docket. See DeSisto, 929 F.3d at 795-796. It also

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recognizes and ameliorates the substantial burden a drawn-out trial places

on jurors. Cousar, 2007 WL 4456798, at *2. Finally, it promotes a more

efficient presentation of the case, which not only improves the quality of jury

comprehension, see United States v. Warner, 506 F.3d 517, 521-524 (7th Cir.

2007) (op. dissenting from denial of rehearing en banc), but also eliminates

“[n]umerous objections or sua sponte interruptions by the court to debate

what evidence is repetitious or cumulative,” Reaves, 636 F. Supp. at 1580.

As the court’s present and past experience teaches, time limits focus the

presentations of the attorneys to the benefit of the jurors, the court, and

ultimately the lawyers themselves.

      The court has additional concerns about the phenomenon of

megatrials, that is, trials the duration of which is measured in months rather

than weeks. These trials, which consume an inordinate amount of the court’s

time and focus, inevitably have an impact on the rights of other litigants who

have equally pressing matters that do not get the attention they deserve as a

result. They also drain the resources of the court, both financially and in

person-hours, a burden that ultimately falls on taxpayers. And for the

increasingly rare defendant who can afford a defense in a lengthy criminal

trial, megatrials impose crushing costs and even the Hobson’s choice

between bankruptcy and vindication.         Of greater concern, megatrials

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effectively eliminate from the available venire those jurors who cannot afford

to take extended absences from their jobs, or who cannot afford the extra

costs of child or parental care that months of service may entail, leaving

largely jurors who are either retired or who, in a few fortunate instances, have

employers willing to fund unlimited jury service. This risks undermining the

representativeness of the jury eventually selected to serve. Megatrials finally

tax the resources of the government itself by encouraging the over-

indictment of cases and by drawing prosecutorial attention from other cases

of equally pressing public concern.

      The court’s imposition of time limits or other restraints on trial time

must, of course, be reasonable. DeSisto, 929 F.3d at 795. The court’s

discretion must be guided by an assessment of the complexity of the case to

ensure that the parties can “present[] sufficient evidence on which to base a

reliable judgment.” Id. at 796. For example, the court cannot arbitrarily

exclude or limit witnesses. See, e.g., United States v. Colomb, 419 F.3d 292,

299-302 (5th Cir. 2005); DeSisto, 929 F.2d at 794-796. In the criminal

context, time limits must also account for special considerations not present

in civil cases. In particular, a court must respect a defendant’s right to testify

in his own defense and his right to confront the witnesses against him. See

United States v. Morrison, 833 F.3d 491, 504-505 (5th Cir. 2016), cert.

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denied, 2017 WL 670543 (Feb. 21, 2017). The court must also respect the

prosecution’s prerogative to choose the offenses to try, see DeCologero, 364

F.3d at 23-25; United States v. Zabawa, 39 F.3d 279, 283-285 (10th Cir.

1994); as well as the government’s need to meet its burden of proof on each

count, see Colomb, 419 F.3d at 300.

      The court believes that these concerns are balanced most efficiently by

giving each party a set period of time to present its case, rather than

attempting to set time limits for individual witnesses or counts.          This

procedure leaves each side “free to make individual tactical and

methodological choices within these limits . . . concerning whom it will call

to testify and what other evidence it will introduce.” Id. at 299 n.15; accord

Reaves, 636 F. Supp. at 1580; cf. DeCologero, 364 F.3d at 23 (although

general time limits may “have the effect of restricting each side’s proof,” they

ensure that “each side still retains control of what it will prove in the time

available”).

      To enable the court to set reasonable time limits on the length of the

Chin trial, each party is ordered to provide to the court its estimate of the

amount of time (expressed in hours) needed to present its case-in-chief

(exclusive of cross examination). Each side is also invited to provide, ex

parte and under seal, additional information to assist the court in its ultimate

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determination, such as lists of expected witnesses and comments on factors

that it believes will affect the length of time required. The deadline for these

submissions is March 15, 2017.

                                    SO ORDERED.

                                    /s/ Richard G. Stearns
                                    __________________________
                                    UNITED STATES DISTRICT JUDGE




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